                                                             1:20-cv-516
                                     Case 1:20-cv-00516-RP Document   1-3 Filed 05/13/20 Page 1 of 1
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u  86*RYHUQPHQW                 u  'LYHUVLW\                                               &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                            (Indicate Citizenship of Parties in Item III)                                                                             RI%XVLQHVV,Q$QRWKHU6WDWH

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u   ,QVXUDQFH                    3(5621$/,1-85<            3(5621$/,1-85<         u 'UXJ5HODWHG6HL]XUH                    u $SSHDO86&                      u )DOVH&ODLPV$FW
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u   1HJRWLDEOH,QVWUXPHQW                 /LDELOLW\            u +HDOWK&DUH                                                                                                       u 6WDWH5HDSSRUWLRQPHQW
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        (QIRUFHPHQWRI-XGJPHQW             6ODQGHU                      3HUVRQDO,QMXU\                                                    u &RS\ULJKWV                             u %DQNVDQG%DQNLQJ
u   0HGLFDUH$FW                 u )HGHUDO(PSOR\HUV¶                3URGXFW/LDELOLW\                                                  u 3DWHQW                                 u &RPPHUFH
u   5HFRYHU\RI'HIDXOWHG                 /LDELOLW\            u $VEHVWRV3HUVRQDO                                                     u 3DWHQW$EEUHYLDWHG                   u 'HSRUWDWLRQ
       6WXGHQW/RDQV                u 0DULQH                            ,QMXU\3URGXFW                                                      1HZ'UXJ$SSOLFDWLRQ                u 5DFNHWHHU,QIOXHQFHGDQG
        ([FOXGHV9HWHUDQV           u 0DULQH3URGXFW                    /LDELOLW\                                                         u 7UDGHPDUN                                   &RUUXSW2UJDQL]DWLRQV
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u   )UDQFKLVH                             ,QMXU\                u 3URSHUW\'DPDJH         u 5DLOZD\/DERU$FW                       u 56,  J                             u 6HFXULWLHV&RPPRGLWLHV
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                                              0HGLFDO0DOSUDFWLFH                                      /HDYH$FW                                                                           u 2WKHU6WDWXWRU\$FWLRQV
       5($/3523(57<                     &,9,/5,*+76            35,621(53(7,7,216          u 2WKHU/DERU/LWLJDWLRQ                    )('(5$/7$;68,76                          u $JULFXOWXUDO$FWV
u   /DQG&RQGHPQDWLRQ            u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV             u (PSOR\HH5HWLUHPHQW                     u 7D[HV 863ODLQWLII                  u (QYLURQPHQWDO0DWWHUV
u   )RUHFORVXUH                  u 9RWLQJ                    u $OLHQ'HWDLQHH               ,QFRPH6HFXULW\$FW                          RU'HIHQGDQW                          u )UHHGRPRI,QIRUPDWLRQ
u   5HQW/HDVH (MHFWPHQW       u (PSOR\PHQW                u 0RWLRQVWR9DFDWH                                                     u ,56²7KLUG3DUW\                             $FW
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u   7RUW3URGXFW/LDELOLW\                $FFRPPRGDWLRQV        u *HQHUDO                                                                                                            u $GPLQLVWUDWLYH3URFHGXUH
u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV    u 'HDWK3HQDOW\                    ,00,*5$7,21                                                                            $FW5HYLHZRU$SSHDORI
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